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                           UNITED STATES DISTRICT COURT
                           DISTRICT COURT OF NEW JERSEY



                                              )
  ROOFER’S PENSION FUND, Individually         )
  and On Behalf of All Others Similarly       )
  Situated,                                   )
                                              )
                                              )
                                 Plaintiff,   )   Case No. 1:16-CV-02805 RMB LDW
                                              )
                      v.                      )
                                              )
                                              )   Hon. Renée Marie Bumb
  PERRIGO COMPANY PLC, et al.,                )   Hon. Leda Dunn Wettre
                                              )
                                              )   CLASS ACTION
                              Defendant.      )
                                              )
                                              )




                      MEMORANDUM OF LAW IN SUPPORT OF
              LEAD PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY
                     APPROVAL OF CLASS ACTION SETTLEMENT
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         Lead Plaintiff Perrigo Institutional Investor Group, on behalf of itself and the Class

  Members of the three certified Classes (collectively, “Plaintiffs”), submits this memorandum in

  support of its Unopposed Motion to Preliminarily Approve Class Action Settlement. Lead Plaintiff

  also requests that this Court approve the plan to notify Class Members about the proposed

  settlement, and schedule a hearing (“Settlement Hearing”) to consider the fairness and adequacy

  of the Settlement, and any requests for attorneys’ fees, reimbursement of litigation expenses, and

  compensatory awards to Lead Plaintiff. 1

  I.     PRELIMINARY STATEMENT

         After almost seven years of hard-fought litigation and four in-person mediation sessions

  (with many more remote sessions) with both the Magistrate Judge and a private mediator, the

  Parties have reached an agreement to settle this Action, in its entirety, for a cash payment of

  $97,000,000 (the “Settlement”). The Settlement provides a favorable result for Class Members

  because it allows an immediate recovery and removes the considerable possibility that Class

  Members could recover nothing, particularly in light of the risks and uncertainties of proving their

  remaining claims at trial and prevailing in inevitable post-trial appeals. The $97 million recovery

  is significant in absolute terms and constitutes an excellent recovery on the narrowed claims that

  would likely remain if this case proceeded to trial, which this Court has stated do not “seem to be

  that significant” and are “sort of … small.” See ECF No. 420 at 53:7-9.

         Lead Plaintiff now seeks preliminary approval of the Settlement. Preliminary approval

  does not require the Court to determine whether it should grant final approval of the Settlement at

  this point. Rather, the Court need only determine whether the Settlement falls within the range


  1
    Unless otherwise stated or defined, all capitalized terms used herein have the meanings provided
  in the Stipulation of Settlement (the “Stipulation”) filed herewith. All citations are omitted and
  emphasis is added, unless otherwise indicated.


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  that the Court reasonably could approve. If the Court grants preliminary approval, Lead Plaintiff

  will provide notice to the Classes in both English and Hebrew, solicit claims from Class Members

  who wish to participate in the Settlement, and allow for Class Members to object to the Settlement,

  if they so choose.

         The litigation is at an advanced stage.      Lead Counsel have reviewed over 519,000

  documents consisting of nearly 3.5 million pages, taken 40 depositions, consulted with experts in

  the subjects of damages, loss causation, generic drugs, and investment banking, and thoroughly

  reviewed the applicable facts and law. The Parties have extensively briefed motions to dismiss,

  for class certification and for summary judgment. The legal and factual issues are fully developed

  and well known to Lead Plaintiff and Lead Counsel. They are fully aware of the strengths and

  weaknesses of their claims and Defendants’ defenses, and are well-positioned to evaluate the risks

  and advantages of the Settlement compared to continued litigation.

         Absent the Settlement, the Parties would proceed towards trial on a much narrower set of

  claims than existed for most of this litigation. Based on the Court’s summary judgment opinion

  (ECF No. 400) and comments at oral argument on the application of corporate scienter (ECF No.

  420), Lead Plaintiff understands that summary judgment would almost certainly be entered with

  respect to the sole generic drug-related claims that remain as to Perrigo Company plc (“Perrigo”).

  As the summary judgment opinion provides, after ruling on the generic drug-related claims against

  Perrigo, the Court would conduct a Daubert hearing, in which some or all of Lead Plaintiff’s

  experts could be excluded from trial, and would allow Defendants’ to renew their motion for

  summary judgment as to loss causation. ECF No. 400. If any claims survived, a trial would then

  be scheduled.




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         The Settlement resolves this uncertainty and provides a substantial, concrete recovery to

  the Classes. Under the Stipulation, Class Members who properly submit valid Proof of Claim

  forms will be treated equitably because each will receive a pro rata share of the monetary relief

  based on the terms of the Plan of Allocation.

         Lead Plaintiff seeks preliminary approval so that notice of the Settlement may be

  disseminated to Class Members and a Settlement Hearing and other Settlement-related dates may

  be scheduled. At the preliminary approval stage, courts are to evaluate whether they are likely to

  be able to approve the terms of a settlement under Rule 23(e). As set forth below, the Settlement

  easily satisfies these standards because it is a fair, reasonable, and adequate resolution for the

  Classes. In particular, the Settlement balances the objective of securing the highest possible

  recovery with recognition of the substantial risks, costs and uncertainty of continued litigation,

  including the very real possibility that the Classes could receive nothing, or a sum far less than the

  Settlement Amount, after a trial and any appeals are completed. Accordingly, Lead Plaintiff and

  Lead Counsel believe that the Settlement is in the best interests of Class Members and represents

  a favorable result.

  II.    BACKGROUND LEADING TO THE SETTLEMENT

         A.       Procedural History Of The Action

         This is a consolidated securities class action brought against Defendants (as well as now-

  dismissed Former Defendants) asserting violations of Sections 10(b), 14(e), and 20(a) of the

  Securities Exchange Act of 1934 as well as provisions parallel to Section 10(b) under Israeli

  securities laws, on behalf of three certified Classes:

                 (1) all persons who purchased Perrigo’s publicly traded common stock between
                     April 21, 2015 and May 2, 2017, both dates inclusive, on the New York Stock
                     Exchange or any other trading center within the United States and were
                     damaged thereby;



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                (2) all persons who purchased Perrigo’s publicly traded common stock between
                    April 21, 2015 and May 2, 2017, both dates inclusive, on the Tel Aviv Stock
                    Exchange and were damaged thereby; and

                (3) all persons who owned Perrigo common stock as of November 12, 2015 and
                    held such stock through at least 8:00 a.m. Eastern time on November 13, 2015
                    (whether or not a person tendered their shares in response to the tender offer of
                    Mylan, N.V.).

Excluded from these Classes are the Defendants; Former Defendants; any current or former

Officers or directors of Perrigo; the Immediate Family Members of any Defendant, Former

Defendant, or any current or former Officer or director of Perrigo; any entity that any Defendant

or Former Defendant owns or controls, or owned or controlled during the Class Period; and the

legal representatives, heirs, agents, affiliates, successors, or assigns of any such excluded persons

and entities.

        The Amended Complaint (ECF No. 89) asserted misrepresentations about Perrigo’s

organic growth, the integration and the resulting performance of its Omega division, the

concealment of anticompetitive practices in its generic drug unit, and misrepresentations about

royalties related to a drug called Tysabri. Id. Defendants moved to dismiss all claims. ECF Nos.

114, 119. After full briefing, the Court sustained certain claims related to Omega and generic

drugs, but granted dismissal of claims related to organic growth and Tysabri, as well as of certain

Omega and generic-drug related statements it deemed forward-looking. ECF No. 137. The Court

also dismissed all claims against Former Defendants who were non-executive directors of the

Company and Marc Coucke, the founder of Omega. Id.

        The three Classes were certified on November 14, 2019 (ECF Nos. 226-227). To Lead

Plaintiff’s knowledge, the certification of the TASE Purchaser class, protecting those investors

who purchased Perrigo shares in Israel rather than in the United States, represented the first time




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that a foreign investor class had been certified in the United States since the Supreme Court’s

decision in Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010).

        After a petition for interlocutory review was denied by the United States Court of Appeals

for the Third Circuit, potential Class Members were notified by direct mail, publication, and

website of the pendency of this Action and the Court’s certification of the three Classes (ECF Nos.

292, 311) (“Class Notice”). Class Members were informed by the Class Notice that they had a

right to exclude themselves, so long as they did so prior to December 3, 2020. Id. Approximately

twenty individuals and entities, mostly litigants in direct action cases filed in this District, excluded

themselves. ECF No. 331-1. Other direct action litigants moved in their respective cases for an

order excluding them from the Classes, and were granted exclusion by this Court. Accordingly,

the Classes currently consist of members who were already provided a full and fair opportunity to

exclude themselves from this Action, but chose not to do so.

        After extensive written, deposition, and expert discovery closed, Defendants Perrigo and

Joseph C. Papa, and Former Defendant Judy Brown each separately moved on April 9, 2021 for

summary judgment dismissing all claims, and to exclude each of Plaintiffs’ three experts on

Daubert grounds. ECF Nos. 342-353. Plaintiffs opposed each of these motions. The summary

judgment record involved several hundred exhibits spanning many thousands of pages. On April

7, 2022, the Court heard more than seven hours of oral argument on summary judgment. ECF No.

385.

        The Action was then reassigned to Chief Judge Renée Marie Bumb. On August 17, 2023,

the Court entered an Opinion and Order (ECF Nos. 400 and 401) granting in part and denying in

part the summary judgment motions, the effect of which was to substantially narrow Plaintiffs’

claims. The Order: (i) granted summary judgment to all claims against Former Defendant Judy




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Brown; (ii) granted summary judgment as to Defendant Papa on all generic drug-related claims;

(iii) suggested that the Court would grant summary judgment as to remaining generic drug-related

claims against Perrigo but reserved ruling until further briefing was received and oral argument

held on the issue of corporate scienter; (iv) reserved ruling on Defendants’ Daubert motions until

after an evidentiary hearing was held; and (v) made clear that Defendants would be permitted to

renew their motion for summary judgment on loss causation after that hearing. Id.

       B.       Negotiations Leading To The Settlement

       The Settlement is the culmination of several years of hard-fought, arms-length negotiation.

 The Parties first attempted to mediate their dispute in an all-day, in-person session before

 experienced mediator Hon. Daniel Weinstein (Ret.), the founder of JAMS ADR, in March 2018.

 They did so again in December 2019.         Both attempts were unsuccessful.       After another

 unsuccessful remote mediation session in April 2021 before Judge Weinstein, Magistrate Judge

 Wettre offered to conduct a settlement conference, which both sides accepted.          With the

 assistance of Magistrate Judge Wettre, and to a lesser extent, Judge Weinstein and his team, the

 Parties negotiated on and off during the following year, all to no avail. Negotiations resumed

 again after the summary judgment opinion was issued with an in-person mediation session before

 Magistrate Judge Wettre in September 2023, followed by several remote sessions. Magistrate

 Judge Wettre held a final in-person mediation session at the end of February 2024, which resulted

 in a mediator’s proposal that the Parties settle the Action for the Settlement Amount. Both sides

 accepted the mediator’s proposal, resulting in the Settlement.

       C.       Nature Of The Settlement

       The Settlement requires $97,000,000 to be paid into an Escrow Account for the benefit of

 Class Members. That amount, plus interest that accrues thereon, comprises the Settlement Fund.

 Notice to Class Members and the cost of settlement administration (“Notice and Administration


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    Expenses”) will be funded by the Settlement Fund.           Stipulation, ¶12.   Once Notice and

    Administration Expenses, Taxes, 2 and Court-approved attorneys’ fees and expenses, including

    interest thereon, any awards to Lead Plaintiff or its members, and any other Court-approved

    deductions have been paid from the Settlement Fund, the remaining amount, the Net Settlement

    Fund, shall be distributed pursuant to the Court-approved Plan of Allocation to Authorized

    Claimants who are entitled to a distribution of at least $10.00.

          Within sixteen (16) days of Preliminary Approval, the Claims Administrator shall use the

    shareholder records gathered for Class Notice to send a link to the proposed Notice and Proof of

    Claim, substantially in the form set forth in Ex. A-1 and A-2 to the Stipulation, to those for whom

    an email address is available, and mail a proposed Postcard Notice substantially in the form set

    forth in Ex. A-4 to those for whom only a mailing address is available, and shall send sufficient

    Postcard Notices and Notice and Proof of Claim links to each nominee to forward to their

    beneficial holders in the same manner requested in connection with Class Notice. The Claims

    Administrator will also seek to provide notice to any additional potential Class Members by

    sending the Notice to a broad list of nominees to identify any additional beneficial holders who

    were not on the notice list generated in connection with Class Notice, and will publish Summary

    Notice substantially in the form attached hereto as Ex. A-3 on national newswires in both the

    United States and Israel. The notices sent and published in Israel will be translated into Hebrew.

          The Postcard Notice and Summary Notice will direct Class Members to the website

    maintained by the Claims Administrator, www.PerrigoSecuritiesLitigation.com, where each

    Class Member can find the Stipulation and its exhibits, the Preliminary Approval Order, the



2
  Because the Settlement Fund is a “qualified settlement fund,” under Treas. Reg. §1.468B-1, the
income earned on the Settlement Fund is taxable. All Taxes and Tax Expenses shall be paid out of
the Settlement Fund.


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longer Notice and the Proof of Claim and Release Form, directions on how to complete and

submit Proof of Claims forms electronically and how to request that a Proof of Claim form and

related documents, including the Notice, are mailed to the Class Members. The notices will also

describe the terms of the Settlement and the attorneys’ fees award and expense reimbursement

and compensatory awards that may be sought, and will provide the date of the Settlement

Hearing, as well as the procedures for objecting to the foregoing matters.

      After a competitive bidding process, Lead Counsel selected JND Legal Administration (the

“Claims Administrator” or “JND”) to administer notice and process claims for the Settlement.

The administrator is well known and experienced in the administration of securities fraud class

action settlements. Additionally, JND administered the Class Notice and therefore already has

an established database of potential Class Members and an established website for this action.

      No later than thirty-five (35) days before the Settlement Hearing, Lead Counsel will submit

papers in support of the Settlement and Plan of Allocation, as well as the request for the awards

of attorney fees, expenses, and awards to Lead Plaintiff. Those papers will explain why the

Settlement should be approved and will describe Lead Counsel’s efforts on behalf of the Classes

(including the time and rates of each employee of Plaintiffs’ counsel who contributed to the

outcome). No fewer than seven (7) days before the Settlement Hearing, Lead Counsel will submit

reply papers in further support of the motion for final approval of the Settlement, Plan of

Allocation, request for an award of attorneys’ fees and expenses, and for awards to Lead Plaintiff

and its members.

      Any Class Member who objects to the Settlement or related matters must do so no later

than twenty-one (21) days before the Settlement Hearing, and must send copies of such objections




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 to the Court as well as designated counsel for the Class and Defendants. These provisions, and

 timeline, are standard in securities class action settlements.

III.   THE SETTLEMENT SHOULD BE PRELIMINARILY APPROVED

       A.       The Standards In This Circuit Favor Preliminary Approval

       In the Third Circuit, there is a “strong presumption in favor of voluntary settlement

agreements,” which is “especially strong in ‘class actions and other complex cases where

substantial judicial resources can be conserved by avoiding formal litigation.’” Ehrheart v. Verizon

Wireless, 609 F.3d 590, 595 (3d Cir. 2010) (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel

Tank Prod. Liab. Litig., 55 F.3d 768, 784 (3d Cir. 1995)); see also In re Warfarin Sodium Antitrust

Litig., 391 F.3d 516, 535 (3d Cir. 2004) (“[T]here is an overriding public interest in settling class

action litigation, and it should therefore be encouraged.”); In re Sch. Asbestos Litig., 921 F.2d

1330, 1333 (3d Cir. 1990).

       A class action settlement should be approved if the Court finds it “fair, reasonable, and

adequate.”   Fed. R. Civ. P. 23(e)(2).      At this stage, only preliminary approval is sought.

“Preliminary approval is not binding, and it is granted unless a proposed settlement is obviously

deficient.” Jones v. Com. Bancorp, Inc., 2007 WL 2085357, at *2 (D.N.J. July 16, 2007).

Preliminary approval should be granted where “the parties show[] that the Court will likely be able

to: (i) approve the proposal under Rule 23(e)(2); and (ii) certify the class for purposes of judgment

on the proposal.” Fed. R. Civ. P. 23(e)(1)(B). Rule 23(e)(2) considers:

       (A)     have the class representatives and class counsel adequately represented the class;

       (B)     was the proposal negotiated at arm’s length;

       (C)     is the relief provided for the class adequate, taking into account:

                  i.   the costs, risks, and delay of trial and appeal;
                 ii.   the effectiveness of any proposed method of distributing relief to the class,
                       including the method of processing class-member claims;


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                iii.   the terms of any proposed award of attorneys’ fees, including timing of
                       payment; and
                iv.    any agreement required to be identified under Rule 23(e)(3); and

       (D)     does the proposal treat class members equitably relative to each other.

       These factors overlap with those set forth by the Third Circuit in Girsh v. Jepson, 521 F.2d

153, 157 (3d Cir. 1975):

               (1) the complexity, expense and likely duration of the litigation . . . ; (2) the reaction
               of the class to the settlement . . . ; (3) the stage of the proceedings and the amount
               of discovery completed . . . ; (4) the risks of establishing liability . . . ; (5) the risks
               of establishing damages . . . ; (6) the risks of maintaining the class action through
               the trial . . . ; (7) the ability of the defendants to withstand a greater judgment; (8)
               the range of reasonableness of the settlement fund in light of the best possible
               recovery . . . ; (9) the range of reasonableness of the settlement fund to a possible
               recovery in light of all the attendant risks of litigation . . . .

The Girsh factors “are a guide and the absence of one or more does not automatically render the

settlement unfair.” In re Schering-Plough/Merck Merger Litig., 2010 WL 1257722, at *5 (D.N.J.

Mar. 26, 2010). The Third Circuit has explained that there is an initial “presumption of fairness”

of the settlement if this Court finds that: “(1) the settlement negotiations [are conducted] at arm’s

length; (2) there was sufficient discovery; (3) the proponents of the settlement are experienced in

similar litigation; and (4) only a small fraction of the class objected.” See Warfarin, 391 F.3d at

535.

       Each of these factors favor preliminary approval.

       B.       The Settlement Is Fair

       The first two factors for the Court’s consideration under Rule 23(e)(2) are the adequacy of

representation for the class and the arm’s-length nature of the settlement negotiations. See Fed. R.

Civ. P. 23(e)(2)(A)-(B). These two factors overlap with the third Girsh factor, which focuses on

the stage of the proceedings and the amount of discovery completed. See In re Ins. Brokerage

Antitrust Litig., 282 F.R.D. 92, 102 (D.N.J. 2012) (Courts have held that “a presumption of fairness



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exists where a settlement has been negotiated at arm’s length, discovery is sufficient, the settlement

proponents are experienced in similar matters and there are few objectors.”).

        First, Lead Plaintiff and Lead Counsel have zealously represented the Classes throughout

this litigation.   They thoroughly investigated claims, drafted a viable amended complaint,

successfully opposed Defendants’ motion to dismiss, conducted extensive fact and expert

discovery, successfully obtained class certification, successfully opposed Defendants’ petition for

interlocutory appeal, successfully opposed Defendants’ attempt to end this litigation entirely at

summary judgment, prepared their case for trial, and successfully negotiated the Settlement. See

In re Viropharma Inc. Sec. Litig., 2016 WL 312108, at *11 (E.D. Pa. Jan. 25, 2016).

        Lead Counsel are highly competent lawyers who possess substantial litigation experience,

including experience in prosecuting complex securities class actions.               Pomerantz LLP

(“Pomerantz”) and Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”) have each

successfully prosecuted hundreds of securities class actions on behalf of damaged investors. See,

e.g., In re: Petrobras Sec. Litig., 312 F.R.D. 354, 362 (S.D.N.Y. 2016), aff'd in part, vacated in

part sub nom. In re Petrobras Sec., 862 F.3d 250 (2d Cir. 2017) (finding Pomerantz is “qualified,

experienced and able to conduct the litigation,” in case achieving a $3 billion settlement); Kanefsky

v. Honeywell Int’l Inc., 2022 WL 1320827, at *8 (D.N.J. May 3, 2022) (finding Pomerantz to be

“highly experienced,” to have “won substantial recoveries” in securities class actions and

“qualified”); In re Turquoise Hill Res. Ltd. Sec. Litig., 2021 WL 148752, at *11 (S.D.N.Y. Jan.

15, 2021) (appointing BLB&G, “a firm highly experienced in securities class action litigation,” as

class counsel); In re WorldCom, Inc. Sec. Litig., 2004 WL 2591402, at *18 (S.D.N.Y. Nov. 12,

2004) (in case where over $6 billion was recovered, the Court noted that, “[t]he quality of the




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representation given by Lead Counsel [which included BLB&G] is unsurpassed in this Court's

experience with plaintiffs’ counsel in securities litigation.”).

        Additionally, there can be no question that the Settlement was the result of arms’-length

negotiation. It represents the culmination of five years of negotiation, including several mediation

sessions with both a highly experienced private mediator and Magistrate Judge Wettre. The use

of “an independent mediator in settlement negotiations virtually [e]nsures that the negotiations

were conducted at arm's length and without collusion between the parties.” Teh Shou Kao v.

CardConnect Corp., 2021 WL 698173, at *7 (E.D. Pa. Feb. 23, 2021). Because of the extensive

litigation and discovery that had already taken place, “counsel had an adequate appreciation of the

merits of the case before negotiating” the Settlement. Warfarin, 391 F.3d at 537. Thus, they “were

sufficiently well prepared and informed enough to engage in robust settlement negotiations.”

Yaeger v. Subaru of Am., Inc., 2016 WL 4541861, at *10 (D.N.J. Aug. 31, 2016). And, that “the

settlement was the result of a mediator’s proposal after [multiple] mediations gives it additional

weight.” McDermid v. Inovio Pharms., Inc., 2023 WL 227355, at *5 (E.D. Pa. Jan. 18, 2023).

        C.       The Settlement Is Reasonable and More than Fair

        Rule 23(e)(2)(C)(i), which overlaps Girsh factors 1 and 4-9, instructs the Court to consider

the adequacy of the settlement relief in light of the costs, risks, and delay that trial and appeal could

inevitably impose. 3 Compare Fed. R. Civ. P. 23(e)(2)(C)(i) with Girsh, 521 F.2d at 157 (factor

one focuses on the complexity, expense, and likely duration of the litigation; factors four through

nine focus on risks). These factors weigh in favor of approval of the Settlement.




3
 The second Girsh factor, the reaction of the class to the settlement, does not yet apply, and will
be addressed at the final approval stage after the Class Members have been given notice of the
Settlement and have had an opportunity to be heard.


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       “Securities fraud class actions are notably complex, lengthy, and expensive cases to

litigate.” In re Par Pharm. Sec. Litig., 2013 WL 3930091, at *4 (D.N.J. July 29, 2013). This case,

which was filed in 2016, and substantially narrowed at both the motion to dismiss and summary

judgment stages, and faced more risks than usual. If litigation continued, summary judgment

almost certainly would be entered against Plaintiffs on the sole remaining generic drug-related

claim against Perrigo. After that, Plaintiffs would risk a Daubert hearing and ruling which could

result in the exclusion of some or all experts, and a renewed motion for summary judgment on loss

causation.

       While Lead Plaintiff and Lead Counsel believe their case would ultimately survive to trial,

there would be no assurance of any recovery. Lead Plaintiff’s remaining claims were based on a

narrow set of alleged misrepresentations, which could have been difficult to prove, principally

through evidence to be presented through adverse witnesses. At trial, proving scienter “would

have been very difficult.” In re Lucent Techs., Inc., Sec. Litig., 307 F. Supp. 2d 633, 645 (D.N.J.

2004). Additionally, proving the materiality of Omega misrepresentations, loss causation, and

damages would likely hinge on a battle of the experts. A “jury’s acceptance of expert testimony

is far from certain, regardless of the expert’s credentials. And, divergent expert testimony leads

inevitably to a battle of the experts.” In re Prudential Ins. Co. of Am. Sales Pracs. Litig., 962 F.

Supp. 450, 539 (D.N.J. 1997), aff’d, 148 F.3d 283 (3d Cir. 1998); see also Par Pharm., 2013 WL

3930091, at *6 (noting “the inherent unpredictability and risk associated with damage assessments

in the securities fraud class-action context”); In re CIGNA Corp., 2007 WL 2071898, at *3 (E.D.

Pa. July 13, 2007) (approving settlement in similarly “complex” case in which, like here, there

were “considerable risks in establishing damages, particularly in view of the determined and

respectable loss causation arguments put forward by Defendants”).




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       Obtaining an award of damages for Plaintiffs’ §14(e) claim would be difficult at trial.

Plaintiffs would have to prove that the Mylan tender offer would have likely succeeded but for

Defendants’ misrepresentations about Omega, which would require the jury to find: (a) that Mylan

would have made the tender offer, and offered the same level of consideration, had the true state

of Omega been known; (b) that investors, who only tendered ~40% of shares in the tender offer,

would have tendered more than 50% if the truth was known (and more than 80% to cleanly show

damages); (c) that a tender of more than 50% but less than 80%, which would have made Perrigo

a subsidiary of Mylan but would not have forced the exchange of shares, would have resulted in

damages to Perrigo shareholders; and (d) that if a merger was completed, the share portion of the

merger consideration would not have declined so substantially that it would significantly reduce

or eliminate damages. Lead Plaintiff is not aware of any §14(e) case in which damages have been

awarded under these circumstances.

       And, even if Plaintiffs prevailed at trial, Defendants would likely appeal. To the extent

that any greater recovery was achieved, it would likely be delayed for at least an additional two

years. See Alves v. Main, 2012 WL 6043272, at *21 (D.N.J. Dec. 4, 2012), aff’d, 559 F. App'x

151 (3d Cir. 2014) (finding settlement approval was warranted as the recovery provides immediate

benefits and “continued litigation involves considerable risk that the Plaintiffs would lose the

merits of the case”); In re Schering-Plough Corp. Sec. Litig., 2009 WL 5218066, at *5 (D.N.J.

Dec. 31, 2009) (“pushing for more in the face of risks and delay would not be [in] the interests of

the class”). In light of all of these risks, Lead Plaintiff and Lead Counsel believe that the immediate

recovery provided by the Settlement is in the best interests of the Classes. See Huffman v.

Prudential Ins. Co. of Am., 2019 WL 1499475, at *4 (E.D. Pa. Apr. 5, 2019) (courts should “give

credence to the estimation of the probability of success proffered by class counsel, who are




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experienced with the underlying case, and the possible defenses which may be raised to their cause

of action.”).

        Here, the Settlement Amount falls squarely within the range of reasonableness in light of

the attendant risks and best possible recovery. The damages here were complex and highly

contested throughout the litigation and in the Parties’ settlement discussions. After consulting

with damages experts, Lead Counsel estimate that the Settlement represents a recovery of 5.59%

to 7.98% of estimated maximum aggregate §10(b) damages available at trial, depending upon

which disclosures survived. 4 Defendants argued that Plaintiffs’ claims were subject to numerous

risks and that the Classes’ damages were substantially lower. By any calculation, the recovery

here compares favorably with benchmark recoveries in this Circuit and elsewhere. See, e.g.,

Schuler v. Medicines Co., 2016 WL 3457218, at *8 (D.N.J. June 24, 2016) (approving settlement

representing 4.0% of estimated recoverable damages and noting that the “percentage falls squarely

within the range of previous settlement approvals”); In re Hemispherx Biopharma, Inc., Sec. Litig.,

2011 WL 13380384, at *6 (E.D. Pa. Feb. 14, 2011) (approving settlement representing 5.2% of

the maximum damages and finding that it “falls squarely within the range of reasonableness

approved in other securities class action settlements”); In re Am. Bus. Fin. Servs. Inc. Noteholders

Litigation, 2008 WL 4974782, at *7 (E.D. Pa. Nov. 21, 2008) (approving settlement that provided

2.5% recovery of damages); In re AT & T Corp., 455 F.3d 160, 169 (3d Cir. 2006) (affirming

settlement for 4% of total damages). 5


4
  In light of the lack of precedent in calculating §14(e) damages under the circumstances here, and
the lack of jury awards of damages under those circumstances, Lead Plaintiff and Lead Counsel
do not include §14(e) damages in their estimate. Nevertheless, the Plan of Allocation provides a
recovery for such claims because they are part of the release.
5
  That Perrigo might be able to sustain a larger settlement shows no infirmity here. The “fact that
[defendants] could afford to pay more does not mean that [they are] obligated to pay any more
than what the [] class members are entitled to under the theories of liability that existed at the time


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       D.       The Remaining Rule 23(e) Factors Support Preliminary Approval

               1.      Rule 23(e)(2)(c)(ii): The Proposed Method for Processing Claims

       The method for processing Class Members’ claims includes well-established and effective

procedures that are used in virtually all securities class actions. JND, the Claims Administrator

selected by Lead Counsel (subject to Court approval), will process claims under the guidance of

Lead Counsel, allow claimants an opportunity to cure any claim deficiencies or request the Court

to review their claim denial, and mail or wire Authorized Claimants their pro rata share of the Net

Settlement Fund (per the Plan of Allocation), after Court approval. The claims processing method

proposed here is standard in securities class action settlements. It has been long found to be

effective and reasonable.

               2. Rule 23(e)(2)(c)(iii): The Terms Of Any Proposed Fee Award Are
                  Reasonable

       As disclosed in the Notice, Lead Counsel will be applying for a percentage of the common

fund fee award in an amount not to exceed 20% to compensate them for the services they have

rendered on behalf of the Classes, and litigation expenses not to exceed $4.5 million, plus interest

earned on these amounts at the same rate as earned by the Settlement Fund. The proposed fee

percentage is lower than usual for securities fraud class actions, which frequently involve fees of

30-33% or more. See, e.g., In re Gen. Instrument Sec. Litig., 209 F. Supp. 2d 423, 433-34 (E.D.

Pa. 2001) (approving attorneys’ fee of 33% of $48 million settlement of securities class action);

In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467, 515–16 (S.D.N.Y. 2009) (33.33% of

$510 million); Landmen Partners Inc. v. Blackstone Grp., L.P., 2013 WL 11330936, at *3

(S.D.N.Y. Dec. 13, 2013) (33.33% of $85 million). Lead Counsel would seek that fee to be paid

upon award, as occurs in virtually all securities fraud class actions in this District.


the settlement was reached.” Warfarin, 391 F.3d at 538.


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               3.   Rule 23(e)(2)(c)(iv):     The Parties Have Identified All Agreements

        Lead Plaintiff has identified all agreements made in connection with Settlement. In

addition to the Stipulation itself, Lead Plaintiff and Perrigo have entered into a confidential

Supplemental Agreement regarding exclusion. See Stipulation ¶ 41. As this Court is aware, Class

Notice was already provided to potential Class Members and all were given a full and fair

opportunity to exclude themselves if they so wished. Many did. See supra at 5. The Parties

therefore agree that no second opportunity for exclusion should be provided. See Stipulation, ¶

1(f).

        “Due process does not require a second opt-out period.” Winn-Dixie Stores, Inc. v. E.

Mushroom Mktg. Coop., 2020 WL 5211035, at *13 (E.D. Pa. Sept. 1, 2020) (quoting In re Nat.

Football League Players' Concussion Inj. Litig., 307 F.R.D. 351, 423 (E.D. Pa. 2015)). To the

contrary, as the Committee’s Notes to the 2003 Amendments to Fed. R. Civ. P. 23 make clear, the

“decision whether to approve a settlement that does not allow a new opportunity to elect exclusion

is confided to the court’s discretion.” Fed. R. Civ. P. 23 Cmte. Notes; Winn-Dixie, 2020 WL

5211035, at *13. See also Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1309 (S.D. Cal. 2017)

(approving settlement without second opt-out period and holding that neither due process nor Rule

23(e) require a second opportunity to exclude), aff’d, 881 F.3d 1111 (9th Cir. 2018); In re HIV

Antitrust Litig., 2023 U.S. Dist. LEXIS 170754, at *41 (N.D. Cal. Sep. 25, 2023) (same, and further

noting that a second opt-out period is particularly unnecessary where, as here, the parties likely to

opt out are “sophisticated”). Accord Denney v. Deutsche Bank AG, 443 F.3d 253, 271 (2d Cir.

2006) (“Neither due process nor Rule 23(e)(3) requires, however, a second opt-out period ….

Requiring a second opt-out period as a blanket rule would disrupt settlement proceedings …”).

        This Supplemental Agreement, which would be applicable only in the event that the Court

required a second opportunity for Class Members to request exclusion from the Classes,


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establishes the conditions under which Perrigo may terminate the Settlement if the “opt-outs” from

the Classes exceed an agreed-upon threshold. “This type of agreement is a standard provision in

securities class actions and has no negative impact on the fairness of the Settlement.” In re Signet

Jewelers Ltd. Sec. Litig., 2020 WL 4196468, at *13 (S.D.N.Y. July 21, 2020). 6

               4. Rule 23(e)(2)(D): The Plan Of Allocation Treats Class Members Equitably
                  Relative To Each Other

        As discussed in Section IV below, the Settlement calls for all Class Members to be

effectively apprised of the Settlement, the reasons therefore, and the risks and potential benefits of

continued litigation. The Notice also informs Class Members how the net proceeds of the

Settlement will be equitably and effectively distributed among Class Members who return a valid

claim form. See Ex. A-1 to Stipulation at Appendix A. 7

        A plan of allocation will be approved if the proposed plan has a “reasonable, rational basis.”

In re Citigroup Inc. Bond Litig., 296 F.R.D. 147, 158 (S.D.N.Y. 2013). Here, the Plan is fair,

reasonable, and adequate because it does not treat Lead Plaintiff or any other Class Member

preferentially. See In re Ocean Power Techs., Inc., Sec. Litig., 2016 WL 7638464, at *1 (D.N.J.

June 7, 2016). The Plan, set out in the Notice attached as Exhibit A-1 to the Stipulation, explains

how the Settlement proceeds will be distributed among Authorized Claimants. The Plan provides


6
  As is standard in securities class actions, agreements of this kind are not made public to avoid
incentivizing the formation of a group of opt-outs for the sole purpose of leveraging the opt-out
threshold to exact an individual settlement. See, e.g., Hefler v. Wells Fargo & Co., 2018 WL
4207245, at *7 (N.D. Cal. Sept. 4, 2018) (“There are compelling reasons to keep this information
confidential in order to prevent third parties from utilizing it for the improper purpose of
obstructing the settlement and obtaining higher payouts.”). In accordance with its terms, the
Supplemental Agreement may be submitted to the Court in camera if the Court requests.
7
  To protect the Classes from the uncertain status of direct action litigants who did not previously
request or move for exclusion but nonetheless continue to litigate directly against Perrigo, the Plan
of Allocation provides that any direct action litigant shall, no later than thirty (30) days after entry
of the Preliminary Approval Order, dismiss said direct action or be barred from receiving payment
in the Settlement.


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that each Class Member will receive a pro rata share equal to all other Class Members who bought

and sold at the same time. Lead Plaintiff and all other Class Members will receive their payment

pursuant to the same formula. It has been crafted by Lead Counsel and Lead Plaintiff’s damages

experts, and is intended to fairly reflect the strengths and weaknesses of each type of claim. See

In re Valeant Pharms. Int'l, Inc. Sec. Litig., 2021 WL 358611, at *3 (D.N.J. Feb. 1, 2021), aff'd in

part, appeal dismissed in part sub nom. TIAA v. Valeant Pharms. Int'l, Inc., No. 21-1218, 2021

WL 6881210 (3d Cir. Dec. 20, 2021) (“courts give great weight to the opinion of qualified counsel”

when assessing whether a plan of allocation is fair, reasonable and adequate); In re Hemispherx

Biopharma, Inc., Sec. Litig., 2011 WL 13380384, at *7 (noting favorably in approving plan of

allocation that it “has a rational basis and was developed by experienced Class Counsel in

conjunction with a damages expert”).

IV.    THE PROPOSED PLAN OF NOTICE SHOULD BE APPROVED

       Rule 23(e) governs notice requirements for settlement or “compromises” in class actions.

The rule provides that a class action shall not be dismissed or compromised without the approval

of the court, and notice of the proposed dismissal or compromise shall be given to all members of

the class in such manner as the court directs. Fed. R. Civ. P. 23(e). The rule provides that “[t]he

court must direct notice in a reasonable manner to all class members who would be bound by the

proposal.” Fed. R. Civ. P. 23(e)(1). In addition, Rule 23(c)(2)(B) requires a certified class to

receive “the best notice that is practicable under the circumstances, including individual notice to

all members who can be identified through reasonable effort.”

       Here, the proposed Notice provides detailed information concerning: (1) the rights of Class

Members, including the manner in which objections can be lodged; (2) the nature, history, and

progress of the litigation; (3) the proposed Settlement; (4) how to file a Claim Form; (5) a

description of the Plan of Allocation; (6) the fees and litigation expenses to be sought by Lead


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Counsel; and (7) how to contact the Claims Administrator and Lead Counsel and how to obtain

further information regarding the proposed Settlement. See Stipulation, Ex. A-1. Plaintiffs request

that the Court approve its selection of Claims Administrator, JND Legal Administration, to

administer the dissemination of notice and analysis of claims received.

       The proposed Preliminary Approval Order, Ex. A to the Stipulation, mandates that Lead

Counsel provide Class Members notice of the Settlement by mailing by first-class mail, the

Postcard Notice, or emailing, if possible, a link to the Notice and Proof of Claim form, to Class

Members who can be identified with reasonable effort. Stipulation, Ex. A at ¶¶8-9. The Claims

Administrator shall use the notice database established in connection with Class Notice to ensure

that all recipients identified at that time receive notice by these means, and shall also send requests

to a broad range of nominees that any additional potential Class Members that may have held

shares as beneficial owners be identified. All forms of Notice will be translated into Hebrew for

the benefit of Israeli class members. Id. at ¶8. Contemporaneously with the mailing of the Postcard

Notice and emailing of links, the Claims Administrator shall cause copies of the Notice, Proof of

Claim form, and other key documents to be posted on the litigation website previously established

in connection with Class Notice, www.PerrigoSecuritiesLitigation.com, a website to be developed

for the Settlement, from which copies of the Notice and Claim Form can be downloaded. Id. at

¶11. Additionally, Summary Notice will be disseminated electronically at least once in a national

newswire in the United States, and once in a national newswire in Israel. Id. at ¶12.

       The proposed Notice and its dissemination are “reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306,

314 (1950); see also In re Nat’l Football League Players Concussion Inj. Litig., 821 F.3d 410, 435




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(3d Cir. 2016), as amended (May 2, 2016). “The use of a combination of a mailed post card

directing class members to a more detailed online notice has been approved by courts.” In re

Advanced Battery Techs., Inc. Sec. Litig., 298 F.R.D. 171, 183 n.3 (S.D.N.Y. 2014). The form and

manner of providing notice to Class Members are the best practicable under the circumstances and

satisfy due process, Rule 23, and the PSLRA. See, e.g., Kanefsky v. Honeywell Int’l Inc., No. 2:18-

cv-15536, ECF No. 179, at 3-5 (D.N.J. Jan. 18, 2022) (approving a similar notice program).

V.        PROPOSED SCHEDULE OF EVENTS

          The Parties respectfully propose for the Court’s consideration the following schedule of

events in connection with the Settlement Hearing, as set forth in the Preliminary Approval Order

filed herewith: if the Court agrees with the proposed schedule, Lead Plaintiff requests that the

Court schedule the Settlement Hearing for a date in August, 2024 at least 110 days after entry of

the Preliminary Approval Order, or at the Court’s earliest convenience thereafter. If the Court

grants preliminary approval as requested, the only date that the Court need schedule is the date for

the final Settlement Hearing. The remaining dates will be determined by the date the Preliminary

Approval Order is entered and the date the Settlement Hearing is scheduled.



    Event                            Deadline for Compliance          Example Date 8
    Mailing of Postcard Notice       No later than sixteen (16) April 29, 2024
                                     calendar days after the entry of
                                     the    Preliminary    Approval
                                     Order) (the “Notice Date”).
                                     (Preliminary Approval Order
                                     ¶ 8)
    Publication of Summary Notice    No later than ten (10) calendar May 9, 2024
                                     days after the Notice Date
                                     (Preliminary Approval Order
                                     ¶12)

8
 The example dates provided are based on the assumptions that the Court enters the Preliminary
Approval Order on April 12, 2024, and schedules the Settlement Hearing for August 5, 2024.


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 Date for Lead Plaintiff to file      No later than thirty-five (35) July 1, 2024
 papers in support of the             calendar days before the
 Settlement,     the    Plan    of    Settlement             Hearing
 Allocation and for application       (Preliminary Approval Order
 for attorneys’ fees and expenses     ¶22)
 Filing deadline for objections       Received no later than 21 July 15, 2024
                                      calendar days before the
                                      Settlement           Hearing
                                      (Preliminary Approval Order
                                      ¶ 18)
 Date for Claims to be Filed          Postmarked      or    submitted July 26, 2024
                                      electronically no later than ten
                                      (10) calendar days before the
                                      Settlement               Hearing
                                      (Preliminary Approval Order
                                      ¶ 15(a))
 Date for Lead Plaintiff to file      No later than seven (7) calendar July 29, 2024
 reply papers in further support of   days before the Settlement
 the Settlement, the Plan of          Hearing (Preliminary Approval
 Allocation and for application       Order ¶ 23)
 for attorneys’ fees and expenses
 Date for Settlement Hearing          To be set by the Court at least August 5, 2024
                                      110 days after entry of the
                                      Preliminary Approval Order, or
                                      at    the   Court’s     earliest
                                      convenience thereafter.
                                      (Preliminary Approval Order
                                      ¶ 6)


VI.      CONCLUSION

         For all of these reasons, Plaintiffs respectfully request that the Court preliminarily approve

the Settlement, the proposed Plan of Allocation, and the proposed Plan of Notice, and set a

Settlement Hearing in August, 2024 at least 110 days after entry of the Preliminary Approval

Order.




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DATED: April 5, 2024                          LOWENSTEIN SANDLER LLP

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